              Case 2:19-cr-00173-RSM Document 32 Filed 09/22/20 Page 1 of 3




 1                                                                    The Honorable Ricardo S. Martinez
 2
 3
 4
 5
 6
                             UNITED STATES DISTRICT COURT FOR THE
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
 9
10 UNITED STATES OF AMERICA,                                   CASE NO. CR19-173 RSM
11                                                             ORDER SETTING TRIAL DATE
                                    Plaintiff,
12
                            v.
13
14   LIOBANY SERRANO LUNA,
15
                                    Defendant.
16
17
18          THIS COURT having considered the record in this matter, the parties’ positions as
19 stated in the status hearing held September 21, 2010, and the General Orders of the United
20 States District Court for the Western District of Washington addressing measures to reduce
21
     the spread and health risks from COVID-19, hereby FINDS as follows:
22
            1. In light of the recommendations made by the Centers for Disease Control and
23
                Prevention (CDC) and Public Health for Seattle and King County regarding social
24
                distancing measures required to stop the spread of COVID-19, it is not possible at
25
                this time to proceed with a jury trial.
26
            2. On July 16, 2020, attorney Timothy Lohraff was appointed to represent Mr. Luna,
27
28              replacing previously appointed counsel. Mr. Lohraff is still relatively new to the

     Order Setting Trial Date                                                   UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
     United States v. Liobany Serrano Luna, CR19-173 RSM - 1                     SEATTLE, WASHINGTON 98101
                                                                                       (206) 553-7970
               Case 2:19-cr-00173-RSM Document 32 Filed 09/22/20 Page 2 of 3




 1
                 case and has advised the Court that he needs additional time to fully review
 2
                 discovery, consider potential defenses, and discuss the case with Mr. Luna, as well
 3
                 as research legal motions and prepare for trial if a plea resolution cannot be
 4
                 reached.
 5
             3. For the foregoing reasons, the Court finds that the failure to grant a continuance of
 6
                 the trial date in this case would result in a miscarriage of justice. See 18 U.S.C.
 7
 8               § 3161(h)(7)(B)(i). Given the volume of discovery produced in this case,

 9               including a number of lengthy video recordings, and the timing of Mr. Lohraff’s
10               appointment, it is unreasonable to expect adequate preparation for pretrial
11               proceedings or for the trial itself within the time limits established by the Speedy
12               Trial Act. See 18 U.S.C. § 3161(h)(7)(B)(ii). Further, the failure to grant a
13               continuance would deny defense counsel the reasonable time necessary for
14               effective preparation, taking into account the exercise of due diligence. See 18
15               U.S.C. § 3161(h)(7)(B)(iv). Accordingly, pursuant to 18 U.S.C. § 3161(h)(7)(A),
16
                 the Court finds that the ends of justice served by continuing the trial in this case
17
                 outweighs the best interest of the public and the defendant in a speedier trial.
18
             IT IS THEREFORE ORDERED that the trial date is continued to February 16, 2021.
19
     The pretrial motions deadline is continued to January 14, 2021.
20
             IT IS FURTHER ORDERED that the period time from the previously scheduled trial
21
     date of August 17, 2020, up to and including the new trial date of February 16, 2021, shall be
22
23 excludable time pursuant to 18 U.S.C. § 3161.
24       Dated this 22nd day of September, 2020.

25
26                                                    A
                                                      RICARDO S. MARTINEZ
27                                                    CHIEF UNITED STATES DISTRICT JUDGE
28

      Order Setting Trial Date                                                UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
      United States v. Liobany Serrano Luna, CR19-173 RSM - 2                  SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
              Case 2:19-cr-00173-RSM Document 32 Filed 09/22/20 Page 3 of 3




 1
 2
     Presented by:
 3
 4 /s/ Jessica M. Manca____________
 5 JESSICA M. MANCA
   Assistant United States Attorney
 6
 7
   /s/ Timothy Lohraff (per Email approval)
 8 TIMOTHY LOHRAFF
 9 Counsel for Liobany Serrano Luna
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Order Setting Trial Date                                    UNITED STATES ATTORNEY
                                                                700 STEWART STREET, SUITE 5220
     United States v. Liobany Serrano Luna, CR19-173 RSM - 3      SEATTLE, WASHINGTON 98101
                                                                        (206) 553-7970
